Case 1:13-cr-20583-WJZ Document 3 Entered on FLSD Docket 08/09/2013 Page 1 of 5



                               UNITED STATES DISTRICT COURT
                               SO UTHERN DISTRICT OF FLORIDA
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UNITED STATES O F AM ERICA
VS.

JOSEPH AKINS OW ANIM N
      a/k/a $$Joe A kinsy''

                 D efendant.
                                              /

                                        IN DIC TM EN T

         TheGrand Jttry chargesthat:

                                  GEN ER AL A LLE G ATIO N S

         Ata11timesrelevantto thisIndictm ent:

                The defendant,JOSEPH AM NS OW ANIM N,a/k/a $$Joe Akinsy''resided in

FortLauderdale,Florida,within theSouthem DistrictofFlorida.

         2.     Akins Financiallnc.,a/k/a Akins FinancialServices,was a Florida Corporation

operated byJOSEPH AK INS OW ANIKIN,in M iam i-DadeCotmty.

         3.     JOSEPH AKINS OW ANIM N opened a customer account at Santa Barbara

Bank and TnzstinthenameofAkinsFinancialInc.

                The lntem al Revenue Service (ç$IRS'') was an agency of the United States
Departm entofTreasury responsible forenforcing and adm inistedng the tax lawsofthe United

States,and collecting taxesowedtheUnited States.

         5.     The IRS allowed individtlaltaxpayersto file theirtax returnselectronically (1çe-
                                                                                                         1)
Case 1:13-cr-20583-WJZ Document 3 Entered on FLSD Docket 08/09/2013 Page 2 of 5                      '.
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 l5le'')byslingonlinedirectlyorthroughataxpreparationbusiness   .                                    )
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       6.     The IRS penuitted tax professionals to obtain an Electronic Filing Identifcation       '
                                                                                                     .   L

Number (itEFlN'')so thatthey could submittax retum selectronically in the names ofother              y
 individuals. A tax return preparerthathad an EFIN was required to comply with the rules and     j
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requirementsoftheIRS'Se-fileprogram .
                                                                                                 1).

       7      ln oraround January 2009,JO SEPH AK INS OW ANIKIN , a professionaltax                  t

preparer,obtained EFIN 601215 in thenameofAkinsFinanciallnc.                                     (
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                                      COUNTS1-10                                                 t)
                          False,Ficti(
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                                         s,So.rC.
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                                                Fr
                                                 audulentClaims
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       1.     Paragraphs 1 tk ough 7 ofthe GeneralAllegations section ofthis Indictm entare          )
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reallegedandincoporatedherein  .
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       2.     On oraboutthe dates specified in each countbelow,in M iam i-Dade County, in            à
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theSouthem DistrictofFloridaand elsewhere,                                                       q
                                               thedefendant,                                         t
                                                                                                 j
                              JosEpllAxlxsowANIxIN,
                                  a/k/a $V oeAM IIS,M
                                                                                                 l
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                                                                                                 j'
did knowingly make, present, and file,and cause to be m ade, presented, and tiled with the           (
IntemalRevenueService(çtlRS''),anagencyoftheUnited States,materially false,ictitious,and         1
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                                                                                                 '
fraudulentclaimsupon and againstthe 1RS and theUnited States, thatis,falseindividualUnited       j
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States income tax rdurns and supporting documents,
                                                      includingIRSForm5405,fraudulently          j
claiming tax refunds in the am ounts below,knowing such claim s were false, fictitious,and
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fraudulent:                                                                                      l
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Case 1:13-cr-20583-WJZ Document 3 Entered on FLSD Docket 08/09/2013 Page 3 of 5



   COUNT       APPRO M M ATE             TAXPAYER      FALSE C               CREDIT
               DATE O F FILING                                   LAIM       CLM M ED
      1         January 31,2009            C.A.        j2008 individual
                                                       jw om e tax rettu'
                                                                        n
                                                                             $7'500
                January 31                              2008individual
                             ,   2009      S.G.        incom e tax return
                                                                             $7,500
                Janual'y 31 2009           V.R.        j2008individual
                             ,
                                                       x om e tax return     $?'S00
      4         February 5 2009            S.L.       i2008 individual       $7,500
                          ,
                                                       ncom e tax return
                February 12 2009           M .H .     j2008 individual
                           ,
                                                       jw om e tax return
                                                                             $75500
      6         February 12 2009           M .P.      y2008 individual
                           ,
                                                       jw om e tax retul.
                                                                        n
                                                                             $0'500
      7         February 17                            2008 individual
                              ,   2009     Y.M .      i                      $7,500
                                                       ncom e tax return
      8         February 19 2009           J.D .      j2008 individual
                              ,
                                                       ywom e tax return     $7:500
      9         February 19,2009           A .J.      j2008 individual
                                                       jw om e tax return    $?'500
      10         M arch 17                             2008 individual
                          ,   2009         K.C.       i                      $7,500
                                                       ncom e tax return

      ln violation ofTitlt 1S.United StatesCode,Sections287 and 2.




                                                ATRUYBILL

                                                FO EPERSON

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RO GER R
A SSISTA U N ITED STATES ATTO RN EY
                            UNITED STATES
   Case 1:13-cr-20583-WJZ Document        DISTRI
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                                                      Docket 08/09/2013 Page 4 of 5
                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AM ERICA                          CASE NO.
VS.
                                                   C ERTIFICATE O F TR IAL ATTO RNEY*
JOSEPHAKIjSOWANIKIN,
a/k/a ''Joe Aklns,''
                          Defendant.
                                          l        Superseding Case Inform ation:

Coud Division:(selectone)                          New Defendantlsl
                                                   N                ..                Yes               No
                                                    umberofNew Defendants
  X    Miam i
       FTL                Ke)BWest
                          W               FTp Totalnumberofcounts
       ldo hereby certifythat:
                Ihavecarefullyconsidered the allegati
                                                    ons pfthe indictmqntthe num berqfdefendants the numberof
                probablewitnessesandtheIegalcomplexltiesoftheIndlctMent/lnformatl
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                Title 28 U.S.C.Section 3161.
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                This case willtake        f5      days forthe parties to try.
       5.       Pleasecheckappropriate categoryandNpeofoffenselistedbelow:
                (Checkonlyone)                                      (Checkoplyone)
       I        0 to 5 days                          X                        P:tty
       II       6 to 10 days                                                  Mlnor
       lII      11 to 20 days                                                 Mlsdem .
       IV       21 to 60 days                                                 Felony
       V        61 daysand over
       6.
       If       Hasthiscase beenpreviousl
                                        yfiledinthisDistrictCoud? (YesorNo)                     Mn
       J yes:
        udge:                    --                        Case NO.                                                         *
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       HAttachcopyQfdispositivegrdej
       lfasacomplalntbeenfiledInthlsmatter?                (YesorNo)          Nn
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       Related M l
                 sc:llaneous num bers:
       D fendantts)lnfederalcustodyasof
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        efendantts)Instatecustodyasof
       Rule 20 from the                                    Di
                                                            strictof
       Isthisapotentialdeathpenaltycase?(YesorNo)
                Doesthiscaseoriginate from a matterpending intheNorthernRegionofthe U.S.Attorney'sOfficeprior
                to October14,2G03?            Yes X           No

       8.       Does
                  s thiscase ori inatefrom a matterpending inthe CentralRegionofthe U .S.Attorney'sOffice pri
                                                                                                            or
                to eptember1,2107?                Yes x             No

                                                           ROGER U
                                                           ASSIST T UNITED STATES ATTORNEY
                                                           Florida BarNo.157971


*penaltySheetts)attached                                                                                        REV4/8/08
Case 1:13-cr-20583-WJZ Document 3 Entered on FLSD Docket 08/09/2013 Page 5 of 5



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT.OF FLORIDA

                                     PEN ALTY SH EET

Defendant'sNam e:Joseph AkinsOwanikin.a/k/a ççloeAM ns''     -




C ase No:                        -       --




Counts#:1-10

 False.Fictitious.orFraudulentClaims
 Title 18.United StatesCode.Section287

* M ax-penalty:            5 years'im prisonm entas to each count




  WR efers only to possible term ofincarceration,overlap does notinclude possible fines,
   restitution,specialassessm ents,parole term s,orforfeituresthatm ay beapplicable.
